         Case 1:23-cv-01945-ACR Document 31 Filed 11/20/23 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BREAD FOR THE CITY,


                Plaintiff,
                                                        Civil Action No. 1:23-cv-01945-ACR
 V.

 DISTRICT OF COLUMBIA,


                Defendant.



                 SUPPLEMENTAL LOCAL RULE 7(m) CERTIFICATION

       Pursuant to Local Rule 7(m) and Judge Reyes's Standing Order in Civil Cases, I hereby

certify that the D.C. Police Union made good-faith efforts to discuss the relief sought in its

Motion to Intervene and, to date, has not obtained consent to the relief sought by the D.C. Police

Union, but continues to work with the parties to reach an agreement.

       On September 14, 2023 at 12:25 p.m., counsel for the D.C. Police Union sent an e-mail to

counsel for Bread for the City (Plaintiff) and counsel for the District of Columbia (Defendant)

that advised both of its intent to file a Motion to Intervene. Upon request from counsel for the

Defendant, a completed draft of the Motion to Intervene was e-mailed to Defendant's counsel on

September 15, 2023 at 4:41 p.m. The Defendant expressed its support for the D.C. Police Union

to join as amicus but took no position as to the relief sought. On September 15, 2023 at 6:27

p.m., counsel for the Plaintiff expressed that it "[does] not consent to the D.C. Police Union

participating in this case as an intervenor or amicus on an on-going basis."

       On November 2, 2023 at 11 :57 a.m., counsel for the Plaintiff notified counsel for the

D.C. Police Union that it had submitted an opposition to the D.C. Police Union's Motion to
         Case 1:23-cv-01945-ACR Document 31 Filed 11/20/23 Page 2 of 4



Intervene and expressed an interest in potentially resolving the motion by a consent order. On

November 10, 2023 at 2: 18 p.m., counsel for the D.C. Police Union expressed a willingness to

reach an agreement. The undersigned circulated a seven-point proposed order on November 14,

2023 at 5:12 p.m. on November 15, 2023 at 10:37 a.m., counsel for Plaintiff indicated that it

would not agree to all aspects of the proposal. The Plaintiffs counsel and undersigned

participated in a Zoom video conference call at 11 :00 a.m. on Friday, November 17, 2023, to

discuss the proposal. The call lasted over an hour; counsel attempted to reach an agreement on

the motion and discussed the undersigned's proposed order. Although an agreement was not

reached, counsel for the Plaintiff requested additional time to consider undersigned's proposed

order. Counsel for the Plaintiff and counsel for the D.C. Police Union agreed to continue with

their discussions to potentially resolve the matter before the November 27, 2023 hearing.

       The parties continue to work to resolve the outstanding motion through a proposed order

and are jointly requesting a postponement of the November 27, 2023 hearing to provide

additional time to discuss and exchange proposed orders.




                                                 ~
                                             Anthony M. Conti (D.C. Bar No. 479152)
                                             Daniel J. Mccartin (D.C. Bar No. 976580)
                                             CONTI FENN LLC
                                             36 South Charles Street, Suite 2501
                                             Baltimore, Maryland 21201
                                             Tel. (410) 837-6999
                                             Fax: (410) 510-1647
                                             tony@contifenn.com
                                             dan@contifenn.com

                                             Counsel for Proposed Intervenor
                                             D. C. Police Union
       Case 1:23-cv-01945-ACR Document 31 Filed 11/20/23 Page 3 of 4



                               CERTIFICATE OF SERVICE

      I hereby certify that November 20, 2023, a copy of the foregoing was served via the Court's

CM/ECF system on:

      Michael Perloff
      Scott Michelman
      AMERICAN CIVIL LIBERTIES UNION
      FOUNDATION OF THE DISTRICT OF COLUMBIA
      915 15th Street, N.W., 2nd Floor
      Washington, D.C. 20005
      (202) 601 - 4278
      m perloff@acl udc. org
      smichelman@acludc.org

      Ashika Verriest
      Brian Dimmick
      Susan Mizner
      Jenn Rolnick Brochetta
      West Resendes
      AMERICAN CIVIL LIBERTIES UNION
      FOUNDATION
      125 Broad Street
      New York, New York 10004
      (240) 676 - 3240
      averriest@aclu.org

      Daniel L. Brown
      Steven Hollman
      Nikole Snyder
      Calla N. Simeone
      SHEPPARD, MULLIN, RICHTER
      & HAMILTON LLP
      2099 Pennsylvania Avenue, N.W.
      Suite 100
      Washington, D.C. 20006
      (202) 747 - 1941
      Dbrown@sheppardmullin.com

      Counsel for Plaintiff
 Case 1:23-cv-01945-ACR Document 31 Filed 11/20/23 Page 4 of 4



Pamela A. Disney
Brendan Russell Heath
OFFICE OF THE ATTORNEY GENERAL FOR
THE DISTRICT OF COLUMBIA
400 Sixth Street, N.W.
Suite 10100
Washington, D.C. 20001
(202) 442 - 9880
Pamela.disney@dc.gov
Brendan.heath@dc.gov

Counsel for Defendant




                               Anthony M. Conti
                               CONTI FENN LLC
                               36 South Charles Street, Suite 2501
                               Baltimore, Maryland 21201
                               Tel. (410) 837-6999
                               Fax: (410) 510-1647
                               tony@contifenn.com

                               Counsel for Proposed Intervenor
                               D. C. Police Union
